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                                                              U.S. DISTRICT COURT
                                                          NORTIIERN DISTRICT OF TEXAS
                                                             FILED
                    IN THE UNITED STATES DISTRICT       COURT~~~~~
                         NORTHERN DISTRICT OF TEXA               NOV - I tl7
                            FORT WORTH DIVISION                   ·.
                                                                  --~·-~-~~<"-'•"'~•OT




ANDRE FILLMORE,                         §                  CLERK, U.S. DISTRICT COURT
                                        §                 By~~~-::,--~~~~~
              Plaintiff,                §                              Deputy
                                        §
vs.                                     §    NO. 4:17-CV-746-A
                                        §
LIBERTY INSURANCE CORPORATION,          §
                                        §
              Defendant.                §


                                     ORDER

        On October 17, 2017, the court ordered plaintiff, Andre

Fillmore, to file by October 24, 2017, an amended complaint

bearing in mind the pleading requirements applicable in federal

court and the undersigned's judge-specific requirements.                   The

order cautioned that failure to comply with the order could

result in the dismissal of plaintiff's claims without further

notice.     On October 26, 2017, having still not received

plaintiff's amended complaint, the court ordered plaintiff by

4:00 p.m. on October 31, 2017, to show cause, by appropriate

written filing, why the court should not dismiss the above-

captioned action for plaintiff's failure to comply with the

court's October 17, 2017 order for repleading.             The court again

warned that noncompliance could result in dismissal of

plaintiff's claims.

       Later in the day on October 26, 2017, plaintiff presented

for filing an amended complaint, and on October 27, 2017,
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plaintiff presented for filing a response to the show cause

order.       Both documents were unfiled and stricken from the record

for being signed by a law firm in violation of the judge-specific

requirements of the undersigned.                         As of the date of the signing

of this order, plaintiff has not filed in a proper form an

amended complaint or a response to the court's October 26, 2017

show cause order. 1              The court finds that no lesser sanction than

dismissal would be appropriate or effective.

        Therefore,

        The court ORDERS that plaintiff's claims against defendant,

Liberty Insurance Corporation, be, and are hereby, dismissed.

        SIGNED November 1, 2017.




      'On the date of the signing of this order, plaintiff presented for filing another set of those
documents, which again, failed to comply with the undersigned's judge-specific requirements.

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